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 UNITED STATES DISTRICT COURT
 DISTRICT OF NEW JERSEY
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 CONNOR DINNERMAN,

                           Plaintiff,                                        21-cv-11053
             v.
                                                                             NOTICE OF VOLUNTARY
 PEP BOYS: MANNY, MOE, AND JACK OF DELAWARE                                  DISMISSAL PURSUANT
 INC.,                                                                       TO F.R.C.P. 41(a)(1)(A)(i)

                            Defendant.
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        Pursuant to the F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the

Plaintiff, Connor Dinnerman, by his counsel, hereby give notice that the above-captioned action

is voluntarily dismissed, with prejudice.

Dated: New York, New York
       May 10, 2022

                                                              THE LIDDLE LAW FIRM PLLC


                                                     By:      s/ Edgar M. Rivera
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